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UNITED STATED DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE PRODUCTS SECTION: N(4)
LIABILITY LITIGATION

THIS DOCUMENT RELATES TO: JUDGE ENGELHARDT
ALL SOUTHERN DISTRICT OF MAG. JUDGE ROBY
MISSISSIPPI CASES LISTED IN

“EXHIBIT A”, ATTACHED HERETO

MOTION TO WITHDRAW COUNSEL

NOW COMES Plaintiffs, as listed in Exhibit A, and hereby file this Unopposed Motion
for Withdrawal of Counsel and in support thereof would respectfully show the Court as follows:

Plaintiffs request that Lacey M. Moore, formerly of the law firm Nexsen Pruet, LLC be
withdrawn as counsel of record. This withdrawal is sought with the consent of Lacey M. Moore,
the approval of Plaintiffs, and is not filed for the purpose of delay.

WHEREFORE, Plaintiffs move the court to withdraw Lacey M. Moore, formerly of the

law firm of Nexsen Pruet, LLC as attorney of record.

Respectfully submitted,

s/Paul A. Dominick

Paul A. Dominick

NEXSEN PRUET, LLC

205 King Street, Suite 400
Charleston, SC 29401

(843) 577-9440 (PHONE)
pdominick@nexsenpruet.com

s/Denis Erwin Vega
Denis Erwin Vega, Esq. (Fed I.D. #100000)

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4323 Division Street, Ste 110
Metairie, LA 70002

Phone: (504) 913-8342

Fax: (504) 885-4426
vegaholdings@gmail.com

s/J. Rock Palermo

J. ROCK PALERMO (#21793)

BICE, PALERMO & VERON, L.L.C.
P. O. BOX 2125

LAKE CHARLES, LA 70602

(337) 310-1600 (PHONE)

(337) 310-1601 (FAX)
rock@vermonbice.com

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CERTIFICATE OF SERVICE

I hereby certify that on June 24, 2010, I electronically filed the foregoing document with
the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to
all counsel of record who are CM/ECF participants. I further certify that I mailed a copy of the
forgoing documents by first class mail to all counsel of record who are non-CM/ECF
participants.

s:/Paul A. Dominick
NEXSEN PRUET, LLC

205 King Street, Suite 400
Charleston, SC 29401

(843) 577-9440 (PHONE)
pdominick@nexsenpruet.com

